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           EXHIBIT G
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Subject:    Visit to US
From: Rick Gates <rgates@d
Date: 3/8/13, 11:32 PM
To: Paul Manafort <pmanafort@
CC: Person D2                                  >, Person D1

P-
This email contains the following documents in regards to the     's visit to the US.

1. Current agenda (as of 1100pm 3/8) – there are still some meetings to confirm but this will
provide an overview on the meetings thus far. In addition, there is a point of contact for each of
the meetings (either Company B       or Company A        )
2. Logistics Sheet – this document is just for our internal use. It has all of the logistical
information and POCs for the trip.
3.    Draft Carnegie Speech Points – need to be reviewed and modified 

There are 3 additional items which will be coming over the weekend.
4. Congressional TPs
5. Briefing books for meetings 
6. Draft Oped


 Attachments:


     Agenda - as of 1100pm 3.8.13.docx                                                    16.5 KB
     Visit POCs.docx                                                                      61.8 KB
     Carnegie Speech [1].doc                                                              40.0 KB
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Meeting	Agenda	
Washington,	DC	–	March	13th	–	14th		
	
	
	
Wednesday,	March	13th		
	
1455	 	       	         	Arrival	to	Washington,	DC	
	      	      	      Transfer	to	Hotel	(if	time	permits)	
	      	      	      VIP	Transfer	–	           	Embassy	(will	provide	transportation	during	visit)		
	
	      	      	      HOTEL:		          Willard	Intercontinental	
	      	      	      	       	         1401	Pennsylvania	Avenue	
	      	      	      	       	         Washington,	DC	20004	
	      	      	      	       	         (202)	             	
	
1630	–	1715	 	       Senator	                    	(D )	
	      	      	      Chairman,	                                                                       	
	      	      	      Location:		Dirksen	Senate	Office	Building	          	
	      	      	      POC:		Company B Employee 	
	
1700	–	1730		 	      Senate	Foreign	Relations	Staff	Briefing	
	      	      	      Location:	Dirksen	Senate	Office	Building,	Room:	TBD	
	      	      	      POC:		Co. A Employee 	
	
1930	 	       	      TENTATIVE	 	Dinner	with	               	Ambassador		
	      	      	      Location:		Villa	Frienze	
	
	
Thursday,	March	14th		
	
900	–	930	    	                              	
	      	      	      Senior	Policy	Advisor,	House	                            	
	      	      	      Location:	U.S.	Capitol	–	Room:	H           	
	      	      	      POC:		Co. A Employee 	
	
1000	–	1045		 	      Congressman	                  	(R )	
                     Chairman,                                         	
                     Location:		        	Rayburn	House	Office	Building	
                     POC:		Co. A Employee 	
	
1215	–	1245	 	       Congressman	                     	(D    )	
                     Ranking	Member,	                                                                	
                             	
                     Location:	      	Cannon	House	Office	Building	
                     POC:		Company B Employee 	
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TBC	   	       	    Congressman                          	(R-   )	
                    Chairman,	House	                                                	

	
TBC	 	         	    Senator	                	
	      	       	    Ranking	Member,	Senate	                            	
	
TBC	 	         	    Bloomberg	Interview	
	
TBC	 	         	               	or	                  	
	      	       	    White	House	                                           	
	
TBC	 	         	                       	
	      	       	    US	Department	of	State	
	
1545	–	1600	   	    Carnegie	Endowment	for	International	Peace		
	      	       	    Meeting	with	CEIP	Board	and	Leadership	
	      	       	    Location:			  Carnegie	Endowment	for	International	Peace	
	      	       	    	      	      1779	Massachusetts	Ave.,	NW	
	      	       	    	      	      Washington,	DC	20036	
	      	       	    	      	
	      	       	                                                                	
	
1600	–	1730	   	    Carnegie	Endowment	for	International	Peace	
	      	       	    Speech	–	Hapsburg Member 	
	      	       	                                                                        	
	      	       	    Brief	Q&A	following	Speech	
	
1730	–	1800	   	    Carnegie	Reception	in	Honor	of	Hapsburg Member 	
	
1800	 	        	    Depart	for	Dulles	Airport	
	      	       	         	Embassy	to	Provide	Transportation	
	
2020	 	        	    Depart	to	         	via	Paris	
